        Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 1 of 22 Page ID #:1
                                                                             ~—wa ~"


                                                             ~/
   1
        SUSAN NASSAR
        11090 SEVEN PINES DR                                          ry~19 FEB 27 ~f~ ~~ 16
   2
        ALTA LOMA CA 91737
        Tel No. 626.221_,8307
   3                                                                 C L ~ i ~i ~' ~~i~ i JF C tl~.
        Email address: rnassarins@gmail.com                                      'r E +~ 51: E
        Fax: 909.963.5100
   4
                                                                  ca `~
        PLAINTIFF,IN PRO PER
   5

   6

   7

   8
                        IN THE UNITED STATES DISTRICT COURT
   9
                      FOR TIC CENTRAL DISTRICT OF CALIFORNIA
  io
  ii
  12
                                                                                                               ;
  13
        SUSAN NASSAR                              ~~~~19 - 00 ~ 7                                 ~~~~   ~~~

  14
        Plaintiff,                                COMPLAINT
  15
                                                 (Unlawful Debt Collection Practices)
  16                        V.

  17
        BANK OF AMERICA,N.A.
  18

  19    Defendant.


~''21

  za           SUSAN NASSAR ("Plaintiff') alleges the following against BANK OF
        AMERICA ("Defendant"):


                                      INTRODUCTION


           1. Count I of Plaintiff's Complaint is based on the Rosenthal Fair Debt
  28          Collection Practices Act("Rosenthal"), Cal. Civ. Code §1788 et seq.



                                     PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 2 of 22 Page ID #:2



 1
       2. Count II ofthe Plaintiff's Complaint is based on Telephone Consumer
 2
          Protection Act("TCPA"),28 U.S.C. §227 et seq.
 3

 4
                                           ,
                                           ~~~~~~

 5
       3. Jurisdiction ofthis court over Count II ofPlaintiff's Complaint arises
 6
          pursuant to 15 U.S.C. §1331 and 28 U.S.C. §1367 grants this court
          supplemental jurisdiction over the state claims contained in Count I.
 8
       4. Defendant conducts business in the State of California thereby establishing
 9
          personal jurisdiction.
io
       5. Venue is proper pursuant to 28 U.S.C. §1391(b)(2).
~~
12                                         D A D TTTi C

13
       6. Plaintiff is a natural person residing in Alta Loma, California.
14
       7. Plaintiff is a consumer or debtor and allegedly owes a debt as that term is
15
          defined by Cal. Civ. Code §1788.2(d)-(e).
16
       8. Defendant is a business entity with a business office located in Charlotte,
~~        North Carolina and conducting business in California.
18
       9. Defendant is a debt collector as that term is defined by Cal. Civ. Code
19
          §1788.2(c), and sought to recover a consumer debt from Plaintiff.
20
       10. Defendant acted through its agents, employees, officers, members,
21
          directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
z2
          representatives, and insurers.
23

24
                              FACTUAL ALLEGATIONS
25
       1 1. Plaintiff acquired a credit card ending in account number 8195 from
26
          Defendant which was used for personal, family, and household purposes.
z~
       12. Defendant placed calls to telephone number 626.221.8307, which is
28
          Plaintiff's cellular telephone. See E~ibit"A" which is Plaintiff's call log.



                                   PLAINTIFF'S COMPLAINT
                                                                                              ~~
     Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 3 of 22 Page ID #:3



 1
       13. Upon information and belief based on the frequency, number, nature, and
 z
          character ofthese calls, Defendant placed each of its calls to Plaintiff using
 3
          an automatic telephone dialing system or other equipment that has the
 4
          capacity to store andJor produce telephone numbers.
 5
       14. The purpose ofthese calls was to collect funds from Plaintiff for purchases
 6
          arising from the credit card account ending in 8195.
 7
       15. On or around October 12, 2016,Plaintiff spoke with one of Defendant's
 8
          employees and instructed Defendant to stop calling her cell phone number
 9
          and agreed to enter into a settlement agreement on account ending in 8195.
to
          See E~ibit"B" which is a copy ofthe settlement agreement.
~~     16.Plaintiff made the first three payments as agreed pursuant to the settlement
12
          agreement. See E~ibit"C" which is a record ofthe payments.
13
       17.In January of2016, Defendant breached the settlement agreement by
14
          demanding additional monies from Plaintiff. Plaintiff refused to pay
15
          anything more than agreed as set forth in the settlement agreement of
16
          October 12, 2016.
~~     18.Defendant continued to call Plaintiff's cell phone. See E~iibit"A" which is
18
          Plaintiff's call log.
19
       19. Since June 30, 2016, Defendant has called Plaintiffs cell phone at least one
ao
          hundred and fifty(150)times. See E~ibit"A" which is Plaintiff's call log.
zi
       20. During this time period Defendant called Plaintiff's cell phone as many as
22
          five(5)times in a single day. See Exhibit"A" which is Plaintiff's call log.
23
       21. Plaintiff is annoyed and feels harassed by Defendant's calls.
24
       22. Defendant placed these calls voluntarily.
25
       23. Defendant placed these calls under its' own free will.
26
       24. Defendant had knowledge that it was using an automatic telephone dialing
2~
          system to place these calls.
2s




                                  PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 4 of 22 Page ID #:4



 1
       25. Defendant intended to use an automatic telephone dialing system to place
 z
          these calls.
 3

 4                                      f`l1TTNT 7

 5
     DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTIO
 6
                                   PRACTICES ACT
       26. Defendant violated the Rosenthal based on the following:
 s
          a. Defendant violated the §1788.11(d)if the Rosenthal by causing
 9
             Plaintiff's telephone to ring repeatedly or continuously to annoy the
io
             person called.
~~        b. Defendant violated §1788.11(e)of the RFDCPA by communicating, by
12
             telephone, with the debtor with such frequency as to be unreasonable and
13
             to constitute a harassment to the debtor under the circumstances.
14
          c. Defendant violated the §1788.17 ofthe Rosenthal by continuously failing
15
             to comply with the statutory regulations contained within the FDCPA, 15
16
             U.S.C. §1692 et seq. to wit: Sections 1692d.
~~
is
          WHEREFORE,Plaintiff, SUSAN NASSAR,respectfully requests judgment
19
     be entered against Defendant, BANK OF AMERICA for the following:
ao

21
       27. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
zz
          Collection Practices Act, Cal. Civ. Code §1788.30(b), and
23
       28. Costs and reasonable attorneys' fees pursuant to the Rosenthal Fair Debt
24
          Collection Practices Act, Cal. Civ. Code §1788.30(c), and
25
       29. Any other relief that this Honorable Court deems appropriate.
26

z~
                                       COUNT II
ae




                                 PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 5 of 22 Page ID #:5



 1
             DEFENDANT VIOLATED THE TELEPHONE CONSUMER
 z
                                   PROTECTION ACT
 3
        30. Defendant's actions alleged supra constitute numerous negligent violations
 4
           ofthe TCPA,entitling Plaintiff to an award of$500.00 in statutory damages
 5
           for each and every violation pursuant to 47 U.S.C. §227(b)(3)(B).
 6
        31. Defendant's actions alleged supra constitute numerous and multiple
           knowing and/or willful violates of the TCPA,entitling Plaintiffto an award
 8
           of$1500.00 in statutory damages for each and every violation pursuant to 4i
 9
           U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
io

ii
     WHEREFORE,Plaintiff, SUSAN NASSAR,respectfully requests judgment be
12
     entered against Defendant, BANK OF AMERICA,for the following:
13

14
        32. Statutory damages of $500.00 for each and every negligent violation ofthe
15
           TCPA pursuant to 47 U.S.C. §227(b)(3)(B);
16
        33. Statutory damages of $1500.00 for each and every knowing and/or willful
~~         violation of TCPA pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.
18
           §227~b)~3)~C)~
19
       34. All court costs, witness fees and other fees incurred; and
20
       35. Any other relief that this Honorable Court deems appropriate.
21

22
                                                 RESPECTFULLY._SUBMITTED,
23
                                                   ,
                                                   ,}          `'
24   Dated: February 13, 2019                       '~ r~~ ~    ~~~,,,~
25
                                                 SUSAN NASSAR
26                                               11090 SEVEN PINES DR
                                                 ALTA LOMA CA 91737
2~                                               Tel No. 626.221.8307
                                                 Email address: rnassarins@gmail.com
28                                               Fax: 909.963.5100
                                                 Plaintiff, In Pro Per

                                                                                         ~-
                                  PLAINTIFF'S COMPLAINT
Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 6 of 22 Page ID #:6




EXHIBIT A
                                                                    Documents
1 /4/Z019                                              1 -Churchill
                    Case 5:19-cv-00375-GW-SP DocumentGmail Filed 02/27/19     Page 7 of 22 Page ID #:7
                                                        ~. X ~-~ ~ ~ri l~
                               ,.                                                                                                                                         richard nassar <rnassarins@gmail.com>



 Churchill Documents
  12 messages

  miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                                                                                        Wed, Jul 27, 2016 at 8:37 AM

                                                                                                                              form, and call log. Please
     Welcome to the program Susan. Please find the attached introduction documents: contact sheet, income form, hardship
                            creditors that you receive regarding the accounts and forward the log to our office so we know who to send cease and desist
     record any calls from
                                                                                                                                Please forvvard any
     letters out to. We'll need income and hardship information down the road when we begin negotiations on the accounts.
     questions/concems to our office via emaillmail.

     Best,

     Miranda King
     Associate Debt Arbitrator
     Churchill Credit Solutions
     41 Madison Ave 31st Floor
     New York, NY 10010



      4 attachments
      ~ Call Log.docx
      ~
        17K
              Consumer Advocacy Welcome Letter.docx
              36K
              Hardship Request Form.docx
              33K
       +~ Income Questionnaire.pdf
          118K
                                                                                                                                                                                                                        ..
                                                                                                                                                                                        ~,` Mon, Aug 1, 2016 at 10:49 AM
  richard nassar <massarins@gmail.com>
                                                                                                                                                                                            "~~-_-.__.
  To: miranda.king@churchilicreditsolutions.com

      Hello Miranda
                                                                                                                                    Please work on having these
      Here is a hardship info and Income list as well as some call logs of numbers that we are still getting calls from constantly.
      calls stopped.

      Thank you

                                                                                                                          Richard Nassar
                                                                                                                          Lic.# OD83052
                                                                                   PRIME FIDELITY INSURANCE AGENCY
                                                                                                                    •~nusre~ Frnsr~
                                                                                                               350 S. Milliken Ave, Suite M
                                                                                                                    Ontario Ca 91761
                                                                                                                     909-245-0822
     [C~uoted text hidden]


      ~ churchilLpdf
      {
        2183K

  ..~.._.._......_.....~.._._...._._....._ .._.._._~._.~...~__~ ._._-___...__.__~.._ ~...~...,.   _....___._   .__W._..,_.___._.._~.,._.   _.._..~_.   _   ~..~._..__W..__.~._.~._.,.,.~._._...... W _.......__ _,__ ..._.W.,_._....___~_._______
                                                                                                                                                                                                          ~Tue, Aug 9, 2016        ~2 —
                                                                                                                                                                                                                                     at l .1 PM~)
   richard nassar <massarins@gmail.com>
                                                                                                                                                                                                                ~`— ----.—.--
   To: miranda.king@churchillcreditsolutions.com
                                                                                                                        account. Please sen me copies of
      Here are more call logs just from a week of August. I need to know a status on what you have done so far with our
      any documents that have been sent out to the creditors so far. I would like a update on the status thus far.

      Thank you
                                                                                                                           Richard Nassau
                                                                                                                           Lic.# OD83052
                                                                                   PRIME FIDELITY INSURANCE AGENCY
                                                                                                                         "TRUSTED FIRST'
                                                                                                               350 S. Milliken Ave, Suite M
                                                                                                                    Ontario Ca 91761                                                                                                ~_.
                                                                                                                     909-245-0822

                                                                                                                                                                                                                             -''r
      On Wed, Jul 27, 2016 at 8:37 AM, <miranda.king@churchillcreditsolutions.com> wrote:
                                                                                                                                                                                 &simpl=msg-f%3A15410227675...                             1 /4
https://mail.google.tom/mail/u/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A1541022767593696731
    1/4/2019
                    Case 5:19-cv-00375-GW-SP DocumentGmail
                                                      1 -Churchill Documents
                                                           Filed 02/27/19    Page 8 of 22 Page ID #:8
        [quoted text hitlde~7f



              call log august first week.pdf
              916K


      miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                        Wed, Aug 10, 2016 at 7:38 AM
      To: richard nassar <massarins@gmail.com>

        Hello Richard, attached are copies of the PoA and Cease and Desist letters that were distributed at the beginning of August to each of the banks (the
        C&D are each personalized with acct numbers). Generally, the banks process within 14 business days (some are much quicker and will have them
        on file within a week).

        Best,

        Miranda King
        Associate Debt Arbitrator
        Churchill Credit Solutions
        41 Madison Ave 31st Floor
        New York, NY 10010



        ~Duoted text hidden]


         2 attachments
              Cease and Desist Form Letter.docx
              53K
              Nassar, Susan PoA updated.pdf
              59K


      Insurance <rnassarins@gmail.com>                                                                                             Wed, Aug 10, 2016 at 8:Q3 AM
      To: miranda.king@churchillcreditsolutions.com

        Awesome thank you

        Sent from my iPhone
       [f3uotrd text hidden]

                 <Cease and Desist Form Letter.docx>

                 <Nassar, Susan PoA updated.pdf>



      nchard nassar <massarins@gmail.com>                                                                                          Tue, Aug 23, 2016 at 11:24 AM
      To: miranda.king@churchillcreditsolutions.com

        Hello Miranda,

        These calls are getting worst and have not slowed down one bit. I am now receiving calls from different numbers and they are getting more aggressive.
        know Neil had asked me not to communicate with these guys, but would it be an issue if i directed them to you or Neil's or even a company phone number
        for Churchill since your company is representing me at this time. This way the call stop coming into me and you guy can deal with them directly. Here is
        another list of numbers. Please give me any new updates on my account.

        Thank you

                                                                            Richard Nassar
                                                                            Lic.# OD83052
                                                   PRIME FIDELITY INSURANCE AGENCY
                                                                           ~~usrfo Fx~sr~
                                                                      350 S. Milliken Ave, Suite M
                                                                           Ontario Ca 91761
                                                                            909-245-0822

        [Quoted text hidden)


         ~ log for 2nd half aug.pdf
         ~
           2476K


   ,% miranda.king@churchilicreditsolutions.com <miranda.king@churchilicreditsolutions.com>                                        Thu, Aug 25, 2016 at 11:30 AM
~~„~ To: nchard nassar <massarins@gmail.com>                                                                                  ~          _ _                _ ~"~

`'      Richard, please feel free to direct them to our office, you can give them my phone number 646.202.2551. I am looking into seeing if there is so~~~
        support that Veritas can provide to knock the calls out
                                                                                                                          &simpl=msg-f%3A15410227675~2/4
    https://mail.google.comlmail/u/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A1541022767593696731
1/4/2019                                       1 -Churchill
             Case 5:19-cv-00375-GW-SP DocumentGmail         Documents
                                                    Filed 02/27/19    Page 9 of 22 Page ID #:9
   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more information about receiving compensation for referrals!




       -------- Original Message --------
       Subject: Re: Churchill Documents
       From: richard nassar <massarins(~gmail.com>
      [Quoted text hidden]


                                                                                                                                                                      ,~
 Insurance <rnassarins@gmail.com>                                                                                                  Fri, Sep 9, 2016 at 2:04 PM
 To: miranda.king@churchillcreditsolutions.com

   Can you please ask Niel what is going on with the calls that I am still getting. He was suppose to get back to me in regards to what has been done about
   the calls still coming in. This issue is still not resolved and I'm getting more calls then before

   Sent from my iPhone
  (Duoted text hidden)


 miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                          Mon, Sep 12, 2016 at 8:21 AM
 To: Insurance <rnassarins@gmail.com>

   Hi Richard, I know we issued cease and desist letters, but I'll make sure we check into them today and see why they haven't been processed /why
   you're still receiving calls.

   Best,

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New Yark, NY 10010


   Contact us(or more information about receiving compensation for re(erralsl




       -------- Original Message --------
       Subject: Rey Churchill Documents
      [Quoted text hidden




 Insurance <rnassarins@gmail.com>                                                                                               Thu, Sep 22. 2016 at 9:02 AM
 To: miranda.king@churchillcreditsolutions.com

   Good morning Miranda,
      need and update by the end of today please. I need to know exactly what is going on with my account. I was suppose to be in the loop every step of the
   way and all that I see happening is that my money is being drafted each month and these call are not stopping. I need to know where my money is going
   and what steps have been takes so far.
   Also the only phone number I seem to have for the coming is yours and Niel. The number you gave me to give to creditors is your number and not you
   legal department. I would like your company's main phone number as well as your legal departments phone number. I would also like the company's info
   that is drafting my account each month because I noticed iYs not Churchill that is taking the money.

   Sincerely
   Richard Nassar

   Sent from my iPhone
   [Quoted [ext hidden


 m iranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                        Thu, Sep 22, 2016 at 11:34 AM
 To: Insurance <massarins@gmail.com>

   Hello Richard,

   Firstly, we do not generally reach out to clients unless we run into an issue or a settlement is reached, so if you'd like an update in between you'd just
   need to reach out to us.
   Any calls regarding your account need to be coming to me since I am the arbitrator on your file.                                                      "~
   If you need an alternative number you can call 646 202 2549.                                                                                             J    ~`

https:/Imail.google.com(mail/u/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A1541022767593696731&simpl=msg-f%3A1541022767 ::' 3/4

                                                                                                                                                       U
                                                    -Churchill Documents
1/4/2019    Case 5:19-cv-00375-GW-SP Document Gmail
                                              1 Filed      02/27/19 Page~10 ~
                                                                            of ,
                                                                               ~
                                                                               22 1 ~\~ / "-~
                                                                                   Page ID #:10
   Your money is ONLY going directly into an escrow account with Global (an escrow company). The money is literally sitting in that account until a
   settlement is reach, at which the funds are deployed to the bank from that account.
   PoAs have been sent on each of your accounts; however it will be at least another couple months before your accounts are charged off (this is when
   the banks allow us to begin submitting settlement offers, depending on the bank this will range from 90-180 days after your final payment on the
   account was made).

   1've forwarded your message to Victor Castaldo at Veritas, the attorneys, regarding the calls you have been receiving. Since we have already sent
   PoAs and Cease and desist letters, they will need to step in and take further action. Please let me know if you have any other questions or concerns
   and I can address it or have Neil reach out to you directly.

   Best,

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us(or more fnformafion about receiving compensation for referrals!




      -------- Original Message --------
      Subject: Re: Churchill Documents
      From: Insurance <rnassarins(~gmail.com>
      [quoted text hidden




 richard nassar <massarins@gmail.com>                                                                                          Thu, Sep 22, 2016 at 11 44 AM    t
 To: miranda.king@churchillcreditsolutions.com

   Hello Miranda,

    appreciate the update on my account. I hope you understand my frustration with these calls hounding me every day. Especially when i was told they
   would stop and none of the call have. This alternative number you are giving me, is it your companies main number or the attorney's number? Should i
                                                                                                                                                       that
   transfer calls to your number or to the alternative number you provided me? Also i have had some account already go to collections, what do i do in
   case?

   Thanks
   Richard
                                                                                      Richard Nassar
                                                                                      Lic.# OD83052
                                                       PRIME FTDELTTY TNSUR4NGE AGENCY
                                                                                     ~~rRusrea FrRsr~
                                                                                350 S. Milliken Ave, Suite M
                                                                                     Ontario Ca 91761
                                                                                  Office:909-276-7160
                                                                                    Fax:909-963-5100
   [Quoted'.ext nidcfen~




                                                                                                                                             t




                                                                                       1541022767593696731&simpl=msg-f%3A15410227675...                       4/4
https://mail.google.comlmail/u/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A

                                                                                                                                                         ~~
           Case 5:19-cv-00375-GW-SP Document 1 -[FWD:
                                                 Filed RE:
                                                        02/27/19      Page 11 of 22 Page ID #:11
1/412019                                   Gmail           Susan Nassar]
                                                                                                    ~.X~~l~~~i ~
                                                                                                    ~~..a..~M_.

                     r                                                                                 richard nassar <rnassarins@gmail.com>



 [FWD: RE: Susan Nassar]
 4 messages

 miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                           Thu, Sep 22, 2016 at 12:21 PM
 To: richard nassar <massarins@gmail.com>

   Richard, have you received calls on only the home number or cell/work numbers as well?

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more information about receiving compensation for referrals!




      -------- Original Message --------
      Subject: RE: Susan Nassar
      From: Victor Castaldo <victor@veritaslsgalplan.com>
      Date: Thu, September 22, 201& 3:00 pm
      To: "miranda.kingachurchiilcreditsolu;ions.corn"
      <miranda.king@churchillcreditsolutions.com>

      Hi Miranda,
      Were they called on the home number?




      Victor Castaldo
      Ph# 877-745-5006 ext 1004
      Fax# 888-774-4271
      Email: Victor@Veritaslegalplan.com




                                                                    ~__
      From: Miranda.king@churchillcretlitsolutians.com [m~ ailto:miranda.king@ehurchillcreditsolutions.com]
      Sent: Thursday, September 22, 2016 2:34 PM
      Ta Victor Castaldo <victor@veritaslegalplan.com,~'
      Subjeei:Susan Nassar

     Hi Victor. Our clients Susan and Richard Nassar have been being inundated with very aggressive collection calls from
     [mainly] Discover, Richard while he is at work. I've attached their call logs. We have sent PoAs and Cease and Desist
     letters, but the calls just keep continuing. They've asked them to stop calling repeatedly. Is there anything you guys
                                                 _ ...~.-.._. __..___._.___-- ..__ ___r_._..__.._ —
     could do to intervene?

      Contact: Richard Nassar, 909-245-0822, rnassarins@gmail.com [email is usually the easiest way to contact].

      Thank you

      Miranda King
      Associate Debt Arbitrator
      Churchill Credit Solutions
      41 Madison Ave 31st Floor
      New York, NY 10010                                                                                                               \~

                                                                                                                               ~,,,.'~
      Contact us for more information about receiving compensation for referrals)

https://mail.google.comlmail/u/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A 1546200927914262577&simpl=msg-f%3A15462009279...     1/3
                                             Gmail -[FWD: RE: Susan Nassar]
1/4!2019      Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 12 of 22 Page ID #:12
                                                                                                                         X ~-E ~ i3 ~ 1 v~-~
    richard nassar <massarins@gmail.com>                                                                                        Thu, Sep 22, 2016 at 12:26 PM
    To: miranda.king@churchillcreditsolutions.com

      most of the calls are coming to my cell and mostly my wife's cell daily multiple times a day and sometimes back to back from the same company. for
      instants Discover is now calling from this number 48o-481-1846 and some are blocking their numbers now

                                                                                           Richard Nassar
                                                                                           Lic.# OD83052
                                                           PRIME FIDELITY INSURANCE AGENCY
                                                                                          •~usre~ ~xasr~
                                                                                     350 S. Milliken Ave, Suite M
                                                                                          Ontario Ca 91761
                                                                                       Office: 909-276-7160
                                                                                         Fax:909-963-5100
      ~Quuted text hidden)


    mirenda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                       Thu, Sep 22, 2016 at 12:49 PM
    To: richard nassar <massarins@gmail.com>

      Richard please see the message below. Please contact veritas at 877 745 5006 ext 1014 to go over details of the calls you are receiving.

      Miranda King
      Associate Debt Arbitrator
      Churchill Credit Solutions
      41 Madison Ave 31st Floor
      New York, NY 10010


      Contact us for more rrtformation about receiving compensation for referrals!




         ------- Original Message --------
         Subject: RE: Susan Nassar
         From: Victor Castaldo <victor(a~veritaslegaiplan.com>
         Date: Thu, September 22, 2016 3:37 pm
         To: "miranda.king a churchillcreditsoiutions.com"
         < miranda.king@cliurchillcreditsolutions.com>

                                                                                                                          if she is
          No Problem.. Tell her to call Veritas again and enter ext 1014 that is Brittney. She will be able to help them.
          not there tell Susan to leave a message   and she  will get back to her.




          Victor Castaldo
          Ph# 877-745-5006 ext 1004
          Fax# 888-774-4271
          Email: Victor@~r'.t~l g~lnlan.com




          From: miranda.king(a7churchillcreditsolutions.com [rnailto:mirand~.king@churchillcrediksolutions.com]
          Sent: Thursday, September 22, 2016 3:30 PM
          To: Victor Castaldo <vic[or~a7veritaslegalplan.com>
          Subject: RE: Susan Nassar



          Thanks for getting back to me Victor. They are calling their cell phones.
          ~OuuleA text hidden



                                                                                                                                 Thu, Sep 22, 2016 at 12:59 PM
    richard nassar <massarins@gmail.com>
    To: miranda.king@churchillcreditsolutions.com

      Awesome Thank you                                                                                                                      ~~ /


    ops://mail.google.com/maillu/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A15462009279142625778simpl=msg-f/o3A15462009279...                        3
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                                                  [FWD: RE:           Page 13 of 22 Page ~
                                                            Susan Nassar]                ID #:13
                                                                Richard Nassar                               ~ ~~ l `-~
                                                                Lic.# OD83052

                                                               ~~rRusre~ ~xnsr~
                                                          350 S. Milliken Ave, Suite M
                                                               Ontario Ca 91761
                                                            Office:909-276-7160
                                                              Fax:909-963-5100

   [Quoted tExt hidden




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EXHIBIT B
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                                              02/27/19 Page 20 of 22 Page ID #:20
                                                                 PM    PAGE        2/003       888-294-5658
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                                                BankofAmerica

       SUSAN NASSAR
       1 1090 SEVEN PINES DR
       ALTA LOMA CA 91737-7804




      October 12,201

      Account number ending in: 8195

      Susan Nassar:

      This letter serves as written confirmation of your
                                                         recent verbal agreement to settle your credit
      account.

      About the settlemerrt offer
      As of the date of this letter your current bala
                                                      nce is $5,fl40.41. We've agreed to settle your
      account for $3,074.00 through the terms listed belo
                                                              w.
     What you need to do
     By accepting this offer, you agree to send the
                                                    first installment payment of $7 8.50 by October
     31, 2016 and the remaining installments as listed below:

     Due date                   Payment amount          Due date                    Payment amount
     November 30, 2016          $768.50                 December 30, 2016           $768.50
     January 13,2017            $758.50




                                                                                                              ~~
Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 21 of 22 Page ID #:21




EXHIBIT C




                                                                                ~~
         Case 5:19-cv-00375-GW-SP Document 1 Filed 02/27/19 Page 22 of 22 Page ID #:22
          Global Client Solutions
          4500 S 129th E          LLC
          Tulsa, OK 74134AVE Suite 177
                                         ~~~
                                          ~"'""~-••---^--~.~..

                                                                          obal Client Solution
                                                                     Account#:                             s LLC
                                                                                 6036335098853414
        RETURN SERVICE
                       REQUE             STED

        April 13, 2017
                                                                                             `~`~.,~
                                                                             ~~T
     Susan Nassar
     1 1090 Seven Pines Dr.
                                                                                                ~ ~ y~ ~~
     Alta Loma, CA 91737                                         ~ ~'~`'~
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 DATE              DESCRIPTION                                     TYPE                        AMOUNT         BALANCE
 07/28/2016       D1 - 07/25/16                                    Deposit                   $1,348.19       $1,348.19
 07/28/2016       Account Setup (one-time fee) -                   Transaction Fee              -$9.00       $1,339.19
                  07/2/16
 Q7/28/2016       Veritas - 07/25/16                               Customer Fee               -$500.00         $839.19
 08/01/2016       Monthly Service Charge - o7/16                   Transaction Fee             -$10.85         $828.34
 08/25/2016       Veritas - 08/25/16                               Customer Fee                -$55.OG         $773.34
08/29/2016        D1 - 08/25/16                                   Deposit                    $1,348.19       $2,121.53
09/Oi/2016        Monthly Service Charge - 08/16                  Transaction Fee              -$?0.85       $2,110.68
09/26/2016        Veritas - 09/25/16                              Customer Fee                 -555.00       $?,055.58
09/28/2016        D1 - 09/25/16                                   Deposit                    $1,398.19       $3,403.87
10/03/2016        Monthly Service Charge - 09/16                  Transaction Fee              - ~ .85       $3,393.02
10/12/2016        Bank of America                                 Payment                     -$758.50       $2,634.52
10/12/2016        Phone Pay COM                                   Transaction Fee               -$S.OQ       $2,629.52
10/12;2016        Settlement Fee - Bank of America                Payment                   -$1,008.01       $x,621.51
10/25/2016        Veritas - 10/25/16                              Customer Fee                -$55.00        $1,566.51
11/Ol/20i6        Monthly Service Charge - 10/16                  Transaction Fee             -$10.85        $1,555.66
11/01%2016       Bank of America                                  Payment                     -$10.00        $1,545.66
11/14/2016       Bank of America                                  Payment                    -$758.50         $787.16
11/14/2016       Phone Pay COM                                    Transaction Fee              -$5.00         $782.16
11/25/2016       Veritas - 11/25/16                               Customer Fee                -$55.00         $727.16
12/01/2016       Monthly Service Charge - 11/16                   Transaction Fee             -$10.85         $716.31
12/02/2016       Bank of America                                  Payment                     -$10.00         $706.31
12/02/2016       Phone Pay COM                                    Transaction Fee              -$5.00         $?01.31
12/17_/2016      Phone Pay COM                                    Transaction Fee              -S5.QC         $696.31
12/27/2016       Veritas - 12/25/16                               Customer Fee                -$55.00         5641.31
01/03/2017       Monthly Service Charge - 12/16                   Transaction Fee             -$10.85         $630.45
01/04/2017       PPay Advance - 01/04/17                          Deposit                     $138.09         $768.50
01/04/2017       Bank of America                                  Payment                    -$758.50          $10.00
01/04/2017       Bank of America                                  Payment                     -$10.00           $0.00



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